                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                               Plaintiff,           )
                                                    )
                          v.                        )     No. 1:19-cr-00229-RLY-DML
                                                    )
MAHDE DANNON,                                       ) -01
                                                    )
                               Defendant.           )


                           Courtroom Minutes for October 14, 2021

                           Before the Hon. Richard L. Young, Judge

      Comes now the government by AUSA Matthew Rinka and Paul Casey, the
defendant appears in person and by FCD Bill Dazey, the USPO is represented by LaTia
Dowdell, for the sentencing of the defendant.

          The parties advise the court there are no matters in dispute regarding the presentence
report.

      The United States orally moves to dismiss counts 1-7. Said motion is GRANTED,
without objection.

          The court now sentences the defendant.

          The defendant is remanded to the custody of the U.S. Marshal.




Copies: All counsel of record
